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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVAN]A

 

RODGER KRAMER and COLLEEN : CIVIL ACTION
BRUSIUS, h/W :
Plaintiffs,
Case No. 5:17~cv~04863-EGS
v.

WAYNE SEIBER, PRATT : JURY TRIAL DBMANDED
INDUSTRIES, ]NC., CORRUGATED ‘
LOGISTICS, LLC, IMPRESS
PACKAGING, lNC,, PRA'IT TRlAD
PACKAGING, LLC, RM ESOP, INC.,
JOHN CHEESEMAN TRUCKING, INC.,
CHEESEMAN, LLC and ZUMSTEIN, INC.
Defendants.

 

STIPULATION TO Al\/[END' AND CORRECTLY NAME DEFENDANTS IN
PLAIN’I`IFF’S AMENDED COMPLAINT

Plajntiffs and Defendants Wayne Seiber, Pratt Industries, Inc., RM ESOP, Inc., John
Cheeseman Truclcing, Ino., Cheeseman, LLC and Zumstein, Inc., by and through their undersigned
counsel, hereby stipulate and agree as follows:

The Amended Complaint shall be amended to correctly name Defendants as follows:

1) Defendant\/`Corrugated Logistics, LLC will be correctly named Pratt
(Corrugated Logistics), LLC

2) Defendant Impress Paclcaging, lnc, Will be correctly named Pratt (Impress
Manufacturing), lnc.

3) Defendant Pratt Triad Packaging, LLC will be correctly named Pratt (Triad
Paekaging), LLC

Pratt (Corrugated Logistics), LLC, Pratt (Impress Manufacturing), Inc. and Pratt (Triad
Packaging), LLC shall file their answer Within 21 days of the filing of this Stipulation correctly

 

 

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naming them as Defendarrts.

Fmrz, GoLDENB?\::W(?! LLI, LLC McDoNNELL & ASSOC!ATES, PC
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Bfia`n/E( Fr`itz, Squir'e} Patrick J. McDonnell, Esquire

Kristy E. McC e, Esqujre Robert E. McDivitt I[I, Esquire

Atz‘omeysfor Plaimi]% Atz‘orneys for De]%ndants Wayne Sez`ber,
Pratt Industries, Inc., RMESOP, Inc., John
Cheeseman Trucking, Inc., Cheeseman, LLC
and Zumstez`n, Inc.

Dated:__]_%?éj/ W/ Dated: l<§» ij 610/j 37

 

 

 

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